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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

SOE LINDON,                           )
                                      )        CIVIL ACTION
      PLAINTIFF,                      )        FILE NO.
                                      )        Jury Trial Demanded
V.                                    )
                                      )
ASTORIA HOSPICE, LLC.,                )
                                      )
      DEFENDANT.                      )

                 PLAINTIFF SOE LINDON’S COMPLAINT

      Comes Now, Plaintiff Soe Lindon who files her Complaint against

Defendant Astoria Hospice, LLC (hereafter “Defendant”), and alleges as follows:

                           I.    Nature of Complaint

                                          1.

      Plaintiff seeks to recover unpaid work time, unpaid overtime, liquidated

damages and attorney’s fees and costs for all hours worked in excess of 40 hours in

a single workweek which lack of payments are alleged violations of the Fair Labor

Standards Act, 29 U.S.C. Secs. 203, et. seq. (hereafter “FLSA”).
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                      II.    JURISDICTION AND VENUE

                                          2.

      This Court has original jurisdiction over cases brought to recover unpaid

overtime pursuant to the FLSA which provides, inter alia, that "[a]n action to

recover ... may be maintained ... in any Federal or State court of competent

jurisdiction," 29 U. S. C. §216(b).

                                          3.

      Plaintiff resides at 765 Bayliss Drive, Marietta, Georgia 30068, within the

geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division.

                                          4.

      Plaintiff has been employed by Defendant from approximately November 6,

2019 to June 29, 2020, at its facility at 8322 Office Park Drive, Suite D,

Douglasville, Georgia 30134, within the geographic boundary of the United States

District Court, Northern District of Georgia, Atlanta Division.

                                          5.

      Plaintiff alleges violations of the FLSA in that (1) she was not paid for all

time worked, (2) she was not paid overtime for work performed in excess of 40

hours in a single work week during parts of her employment, and (3) her
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employment was terminated in retaliation for protected activity under the FLSA

when she complained about not being paid for all time worked and not being paid

overtime at 1 ½ time her Regular Rate of pay. Plaintiff alleges that these violations

of the FLSA occurred at 8322 Office Park Drive, Suite D, Douglasville, Georgia

30134, within the geographic boundary of the United States District Court,

Northern District of Georgia, Atlanta Division.

                                         6.

      A substantial part of the alleged actions and omissions that give rise to

Plaintiff’s FLSA claims against Defendant are alleged to have occurred within the

geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division, such that venue in this Court is proper pursuant to 28

U.S.C. Sec. 1367.

                          III.   PARTIES AND FACTS

                                         7.

      Plaintiff was employed by Defendant from approximately November 6,

2019 to June 29, 2020, within the meaning of the FLSA, 29 U.S.C. sec. 203(e).
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                                           8.

        During the dates alleged in paragraph 7 of this Complaint, Plaintiff was an

employee of Defendant, who was an employer engaged in interstate commerce

within the meaning of 29 U.S.C. Sec. 207 (a).

                                           9.

        Plaintiff was paid an hourly wage or $18.00 per hour as a Certified Nurse

Assistant.

                                          10.

        During her employment, Plaintiff was entitled to minimum wage for all

hours worked.

                                          11.

        During her employment, Plaintiff was entitled to overtime pay at a rate of 1

½ times her Regular Rate of pay for hours in excess of 40 hours in a single work

week.

                                          12.

        Plaintiff was required to report to work initially each work day at

Defendant’s location at 2720 Dogwood Drive, Conyers, Georgia 30013.

                                          13.

        Plaintiff’s normal work day was from 7:00 a.m. to 4:00 p.m. each day.
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                                          14.

       After reporting for work at the beginning of each day, Plaintiff was assigned

to a work crew that was transported in Defendant’s vehicle to remote job sites each

day.

                                          15.

       Plaintiff did not punch or swipe a time clock or sign in or out at the

beginning or end of each day, or at the beginning or end of any lunch breaks while

employed by Defendant.

                                          16.

       On information and belief, Plaintiff’s foreman reported Plaintiff’s work time

to a supervisor who then approved or adjusted the reported work time on which

Plaintiff was paid.

                                          17.

       On some work days, Plaintiff and other members of her crew worked

through lunch and did not take a meal break.

                                          18.

       Plaintiff’s work time automatically and routinely did not pay him for a

thirty-minute meal break.

                                          19.
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      On those work days when Plaintiff and other members of her crew worked

through lunch and did not take a meal break, Plaintiff was not paid for all time

worked as required by the FLSA.

                                         20.

      Plaintiff’s work time automatically and routinely reported that Plaintiff

began her work day at 7:00 a.m.

                                         21.

      Plaintiff’s work time automatically and routinely reported that Plaintiff

began her work day at 7:00 a.m. even on days when Plaintiff was instructed by her

foreman or a supervisor to report to work earlier for that day.

                                         22.

      Plaintiff’s work time automatically and routinely reported that Plaintiff

began her work day at 7:00 a.m. even on days when Plaintiff was instructed by her

foreman or a supervisor to report to work earlier for that day, even when Defendant

knew or should have known that Plaintiff was working prior to 7:00 a.m.

                                         23.

      Defendant did not keep accurate records of all time worked by Plaintiff.

                                         24.
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      Defendant and Plaintiff entered a binding contract where Defendant agreed

to pay Plaintiff for all time worked at an agreed hourly rate consistent with FLSA

regulations regarding when meal and break periods and travel time are not paid

time. On some or all of these days when Plaintiff continued or resumed work

during her 30-minute lunch period, and when Plaintiff’s work before 7:00 a.m. or

after 4:00 p.m., and for travel time back to another location or her home or the

office; such unpaid work was known or should have been known by supervisory

level employees of Defendant. Plaintiff was not paid for all time worked at the

agreed upon rate of hourly compensation with Defendant.

                                COUNT I.
                         VIOLATIONS OF THE FLSA.

                                         25.

      Plaintiff incorporates be reference as if fully restated here, the preceding

Paragraphs of Plaintiff’s Complaint.

                                         26.

      Defendant’s failure to pay Plaintiff for all time worked constitutes a

violation of the minimum wage provisions of the FLSA.

                                         27.

      Defendant’s failure to pay Plaintiff for all time worked, and its failure to pay

Plaintiff for all time worked in excess of forty-hours in a single work week at the
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proper overtime rate, constitutes a violation of the overtime provisions of the

FLSA.

                                         28.

      Defendant was aware of its duty to comply with the FLSA during the times

of Plaintiff’s employment with Defendant.

                                         29.

      Defendant’s failure to pay Plaintiff for all work which Defendant knew or

should have known was performed by Plaintiff and failure to pay overtime for

hours worked in excess of forty in a single work week, constitute willful violations

of the FLSA within the meaning of 29 U.S.C. sec. 255(a) such that that the

appropriate statue of limitations to be applied to Defendant’s violations is a three-

year period.

                             COUNT III.
               RETALIATION IN VIOLATION OF THE FLSA.
                                30.

      Plaintiff incorporates by reference as if fully restated here, the preceding

Paragraphs of Plaintiff’s Complaint.

                                         31.
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        Plaintiff complained to her supervisor that she was not paid for all time

worked and not paid overtime at the required overtime rate of 1 ½ times her hourly

rate.

                                           32.

        Plaintiff was told by her supervisor that the employer did not pay overtime.

                                           33.

        Plaintiff engaged in protect activity under the FLSA when Plaintiff asked

about payment for all time work and overtime payment time worked over forty in a

single work week.

                                           34.

        The termination of Plaintiff’s employment was a retaliatory violation of the

FLSA for Plaintiff’s protected activity.

                                           35.

        Plaintiff is entitled to recover for Defendant’s retaliatory termination of her

employment including but not limited to back pay, loss of benefits, consequential

damages due to the loss of benefits including health insurance, liquidated damages,

attorney’s fees and costs.

                                  COUNT III.
                             BREACH OF CONTRACT.

                                           36.
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      Plaintiff incorporates by reference as if fully restated here, the preceding

Paragraphs of Plaintiff’s Complaint.

                                         37.

      Defendant’s failure to pay Plaintiff for time worked during lunch periods

where Plaintiff did not have an uninterrupted 30-minute period where no work was

performed, and pre- and post-shift work including travel time back to 2720

Dogwood Dr., Conyers, Ga. 30013 from a remote worksite, constitutes a breach of

contract by Defendant of an agreement to pay Plaintiff for all time worked at an

agreed hourly rate consistent with FLSA regulations.

                                         38.

      Plaintiff is entitled to recover from Defendant breach of contract damages at

her agreed hourly rate for all unpaid time that violate FLSA regulations.

                             PRAYER FOR RELIEF

                                         39.

      Wherefore, Plaintiff Soe Lindon requests a jury trial and damages in the

form of (1) an award of award of back pay for interrupted lunch periods for

Defendant’s breach of contract, and (2) for violations of the FLSA: unpaid work

time in violation of the minimum wage, unpaid overtime, lost wages resulting from
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her termination from employment, an award of liquidated damages in an equal

amount, and an award of attorney’s fees and costs.

      Submitted this 2nd day of April, 2021.

s/ Donald W. Benson
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